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                                                LEASE ADMINISTRATION AGREEMENT


             This Lease Administration Agreement (the "Agreement") is made as of this 16th     day of March 2021             ,
             between CAMS Realty, LLC (CAMS), as Lease Administrator ("Administrator") and those persons and entities
             executing a signature page to this Agreement, herein referred to as "Owner" or "Owners." This Agreement shall be
             governed by the terms and conditions of the Agreement and the Tenancy-in-Common Agreement defined below.

             WHEREAS, Karmann Kasten, LLC                   (“Owner(s)”) as an Owner, has entered into a certain Tenancy-in-
             Common Agreement (“TIC Agreement”) on a date even herewith, to acquire a percentage ownership interest in real
             property located at the common address of 2975 Showplace Drive       , Naperville          , IL 60564
             (the “Property”);

             WHEREAS, other individuals and entities have also acquired a percentage ownership in the Property under a TIC
             Agreement;

             WHEREAS, the Owners, in the TIC Agreement jointly agree to appoint an Administrator to manage the Property on
             each of their respective parts;

             WHEREAS, other Owners have previously signed a Lease Administration Agreement;

             WHEREAS, Owners and the Administrator have agreed that the Lease Administration Agreement should be amended
             as set forth herein;

             WHEREAS, as an inducement to enter into this Agreement, the Administrator has agreed that all Owners should sign
             the Agreement and will use its best efforts to obtain the respective signatures of each Owner with a waiver of the sixty
             (60) day notice provision contained in Section 16 of the Lease Administration Agreement.

             IN CONSIDERATION of the mutual covenants and agreements between the parties, and other good and valuable
             consideration, the receipt and sufficiency of which is hereby acknowledged, the parties agree as follows:

             l.       Appointment. Owner appoints and designates Administrator to serve as Owner's exclusive representative for
             the Property. The Property is currently leased to Advance Care Medical By HSI

             2.               Administrator's Duties and Authority. Administrator shall, on behalf of Owner, have the power and
             responsibility, with respect to the Property, to collect rents and distribute proportionate net proceeds to
             owners , direct communication between owners and, if the need arises, and at the direction of the owners, to
             maintain, operate, enter into service and construction contracts, hire, supervise and terminate independent contractors
             to advise and assist administrator in performing said duties and pay expenses legal and accounting fees, record
             keeping, utilities, taxes, maintenance and repairs) and to perform all other activities necessary to accomplish such
             duties.

             Administrator shall, on behalf of Owner, have the power and responsibility, with respect to the Property, to enforce
             the terms, conditions, and covenants made by the Owner as made in the TIC Agreement, as may be amended from
             time to time. Administrator shall prudently provide the services, duties and responsibilities in this Agreement with
             the highest degree of care, efficiency and fidelity.

             Administrator agrees to work cooperatively with representatives of the majority owner, in regard to any tasks that
             should they arise beyond typical accounting and rent collection responsibilities, as requested by the majority owner.

             3.     Term. This Agreement shall commence as of the date of this Agreement and shall continue for the period of one
             (1) year or until December 31 of the year in which it is executed. This agreement will automatically renew on January
             1 of the subsequent year unless terminated by owners as set forth below. Either Party may terminate this Agreement.
             The Administrator may terminate this Agreement by giving sixty (60) days written notice of termination to the
             Owners. Any termination by Owner must be approved by a vote of Owners who own more than 50 percent (50%) of
             the Ownership Percentages in the Property. Termination by Ownership may not take effect until Owners have
             unanimously chosen a successor. Once the successor Lease Administrator is chosen Notice may be served to the
             outgoing Lease Administrator. Termination shall take effect immediately upon notice to the Administrator.




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             Upon termination, the rights, duties and obligations of the Administrator and Owners shall end except to the extent
             otherwise stated in this Agreement. All money owing to a party shall be paid in full.

            4.        Compensation of Administrator. The compensation to be paid to Administrator is found on Exhibit A.

            5.        Bank Accounts and Disbursements. Administrator, on behalf of Owners, shall establish and maintain a
            separate bank account specifically designated for receipts, payments and disbursements of funds solely
            related to the Property. Administrator shall keep and maintain all money received safe, secure and protected in
            an FDIC insured account in a depositor institution having net assets of one hundred million dollars or more
            (the "Operating Account."). Within five (5) days of receipt, the Administrator shall email a copy of the bank
            statement for the Operating Account to each Owner Administrator shall deposit all rentals and funds from the
            Property in the Operating Account promptly upon receipt. The Operating Account shall clearly indicate the
            custodial nature thereof. Administrator and its designated representatives may draw on the Operating Account to
            make disbursements to Owners and if the occasion arises utilize a property Administrator to make payments when
            due for utilities, services, supplies, maintenance, mortgage payments, repairs, insurance, legal fees, accounting
            fees, taxes, or other costs and expenses provided to or in connection with the management, operation, repair and
            maintenance of the Property, to discharge any liabilities or obligations of Owner incurred in connection with the
            Property, and to pay Administrator's fees and other compensation provided herein.

             If the Operating Account contains insufficient funds to pay any obligations or liabilities incurred of the Property,
             Administrator shall promptly notify Owner. Owner shall then promptly deposit such funds as may be necessary to
             satisfy all such obligations and liabilities. Administrator shall not be obligated to extend its own funds for any of
             Owners obligations and shall have no liability in connection therewith.

             6. Collection of Rents and Enforcement of Leases: Administrator shall take all reasonable actions to collect and
             enforce the collection of all rentals and other charges due Owner from tenants of the Property, in accordance with
             the terms of the applicable lease, as may be amended from time to time, and from other persons and entities on the
             Property having an obligation to Owner. Administrator shall provide Owners a copy of any notice or
             correspondence with a tenant of the Property simultaneous to making such communication. Administrator shall
             maintain at its principal office a record containing the name, percentage ownership and contact information for
             each Owner of the Property which shall be available for inspection and copying by all other Owners of the
             Property.

             To enable Administrator to perform its duties under this Agreement, Administrator may take the following
             actions in the name of and on behalf of Owners, if such actions are necessary, in Administrator's reasonable
             judgment:

             a. To collect rents and give receipts therefore;
             b. To terminate tenancies in the Property and to execute and serve such appropriate notices in connection
             therewith;
             c. To initiate and prosecute legal actions or suits on behalf of Owner with respect to any rentals or use of the
             Property;
             d. To evict tenants and recover possession of those tenants' portion(s) of the Property;
             e. To sue for rents and other sums due and owing and recover the same in the name of
             Owner;
             f. To impose liens on tenants in the Property for sums due and owing, as allowed by the leases or by law;
             g. To enforce any TIC Agreement then in effect;
             h. To settle, compromise and release such actions or suits and reinstate such tenancies in connection with the
             Property as may be agreed by Owners; and
             i. To perform all other activities necessary to accomplish its duties hereunder.


             If the consents of any person or entity other than Owner (such as the beneficiary of a deed of trust
             encumbering the Property, are required for Administrator to perform its duties hereunder), Owner shall be
             solely responsible to obtain such consents; and Administrator shall have no obligation whatsoever with
             respect thereto, except as may otherwise be agreed in writing between Administrator and Owners.
             Notwithstanding Owner's obtaining of any such required additional consent(s), Administrator shall be
             deemed to have complied with the terms and provisions of this section with respect to such consents upon
             receiving Owner's approval to proceed with the subject activity.
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             No legal proceedings other than those mentioned above shall be commenced without the prior consent of Owner.
             However, the Administrator shall notify each Owner of the intent to file any legal proceeding at least five (5) days
             prior to the filing of the action. All legal actions shall be through counsel designated by Administrator and
             approved by Owner, with all expenses for such legal proceeding and counsel to be Owner's sole responsibility.

             7. Record Keeping. Administrator shall maintain adequate and separate books and records of all monies received
             and disbursed with respect to the Property. All financial statements and reports shall be prepared in accordance with
             generally accepted accounting principles on a modified cash basis, unless otherwise directed by Owner.
             Administrator shall maintain books and records at Administrator's address and shall be subject to Owner's
             inspection at any reasonable time.

             8. Leasing. Administrator shall appoint a representative to represent Owner in all lease transactions and in
             performing due diligence to negotiate and consummate leases of the Property. In the event the Administrator
             chooses to utilize the services of an outside broker, Administrator shall consult with Millrock Investment Fund
             Management 1, LLC to determine a course of action which shall be in the best interest of the Owners, in the
             selection of the outside brokerage firm, and together direct and work with that broker in a team effort to achieve
             those goals. All reasonable and standard leasing, marketing, legal, and consulting costs shall be at Owner's expense,
             as approved by Owners Administrator shall take all commercially reasonable actions to qualify all prospective
             tenants.
             Administrator has the express authority to sign on behalf of the Owners a new lease, the renewal or termination
             of an existing lease, but only after approval of the lease and tenant by a unanimous vote of Owners as set forth in
             the TIC agreement.
             9. Property Sale or Exchange. Administrator shall represent Owner in all sale negotiations, subject to approval of
             all proposed and final terms and conditions of sale. Administrator may list the Property with a third-party broker. In
             the event the Property is listed through an outside broker, Administrator shall provide direction and shall work with
             that broker in a team effort to find a buyer for the Property. Administrator has the express authority to sign a listing
             agreement on behalf of the Owners, but only after approval by a vote of Owners who own more than fifty percent
             (50%) of the Ownership Percentages in the Property.

             10. Indemnification.
             a. Owner Indemnification: Each Owner, for its own actions, will indemnify and hold the Administrator and the
             Administrator's officers, shareholders, members, employees, representatives and agents (collectively
             “Administrator Indemnified Parties”) harmless from and against any and all claims, demands, losses, lawsuits,
             proceedings, settlements, judgments, actions, causes of actions, damages and expenses incurred (including
             reasonable attorneys' fees and expenses) arising out of or related to any material breach by the Indemnifying Owner
             of the terms of this Agreement. Owners shall indemnify and hold harmless Administrator Indemnified Parties, from
             all claims, demands, liabilities, and causes of action incurred or assessed by Administrator in connection with the
             proper and lawful performance of Administrator’s duties under this Agreement, except for Administrator's
             negligence, misfeasance or fraud.

             b. Administrator Indemnification. Administrator agrees to indemnify, defend and hold the Owners harmless from
             any and all claims, causes of action, liabilities, liens, judgments and damages, including costs and attorney’s fees,
             arising from or relating to: (i) Administrator’s breach of this Agreement; (ii) Negligently performing or failing to
             perform Administrator’s duties and obligations contained in this Agreement.

             11. Arbitration. The parties hereto agree to submit to binding arbitration any controversy or claim arising out of or
             related to this Agreement, or any claimed breach of this Agreement. A single arbitrator pursuant to the commercial
             arbitration rules of the American Arbitration Association will conduct the arbitration then in effect, or such other
             arbitration service mutually agreed to by the affected parties. The arbitrator will conclude the arbitration and issue
             an award no later than 180 days following service of the demand for arbitration by either of the parties. Judgment
             upon the arbitrator's award may be entered in any court of competent jurisdiction. Arbitration shall take place in
             Salt Lake City, Utah.

             12. Counterparts. This Agreement may be executed simultaneously in two or more counterparts, each of which
             shall be deemed an original, but all of which together shall constitute one and the same instrument. It shall not
             be necessary in making proof of this Agreement to produce or account for more than one
                                                                                                                 DEF 000003
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             counterpart. Each Owner shall be liable and responsible for its actions or failure to act except to the extent otherwise
             stated in this Agreement.

             13. Insurance. During the term of this Agreement, Administrator shall maintain an errors and omissions insurance
             policy in the amount of $100,000 per occurrence, and $300,000 annual aggregate. The errors and omissions policy
             shall be obtained through a carrier admitted in each state where the Administrator is doing business and shall be
             A.M. Best FSR rated at least A-. The Administrator shall provide each Owner with a certificate of insurance for the
             error and omissions policy, which will include coverage for fraud.

              14. Attorney Fees. Upon any breach or default of the terms or conditions hereof, the defaulting party shall pay all costs
             and expenses of enforcing this Agreement or any rights arising out of the breach or default of the
             provisions hereof, including reasonable attorney's fees, whether incurred with or without suit and both before and after
             judgment.

              15. Amendments. This Agreement may be amended or modified by either party, but if by owners only after an
             affirmative vote of more than 50% of the ownership, such modifications shall take effect after a 60-day written notice.

              16. Notices. Any notice, demand or document which any Party is required or may desire to give or deliver to any other
             Party, shall be in writing and may be personally delivered, or given or made by United States Registered or Certified
             Mail, email or fax, or delivered to a commercial expedited delivery service, freight prepaid, addressed to his, her or its
             last known address, is the responsibility of the Parties to notify the other as to a change in address. The Administrator’s
             contact information, which may be changed from time to time by written notice to each Owner is:

                      CAMS Realty, LLC, Administrator (Commercial Asset Management
                      Services) Address: 2015 W Grove Pkwy, Suite J, Pleasant Grove, UT 84062
                      Email: mstreet@mtnwest.com

              17. Invalidity. The invalidity, illegality or enforceability of any one or more of the sections, subsections or
             portions of this Agreement shall not affect the validity, legality or enforceability of all other sections, subsections,or
             portions of thisAgreement.

              18. Integration. This Agreement sets forth (and is intended to be an integration of) all the promises, agreements,
             conditions, understandings, warranties, and representations, oral or written, express or implied, between the Parties
             with respect to the subject matter of this Agreement; and there are no promises, agreements, conditions,
             understandings, warranties or representations, oral or written, express or implied, between the Parties with respect to
             the subject matter of and other than as set forth in thisAgreement.

              19. Construction. This Agreement shall be interpreted and construed under the laws of the State of Utah without reference
             to its choice of law provisions.

              20. Exclusive Jurisdiction. Each party to this Agreement agrees that the sole and exclusive jurisdiction for any cause of
             action arising under or related to this Agreement shall be a court located in Salt Lake City, Utah and each party hereby
             submits themselves to the jurisdiction of said court. Each party waives the defense of lack of personal jurisdiction and
             forum non convenience.




                                                      [SIGNATURE PAGE ATTACHED]


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             MANAGER                                             OWNER #1 Karmann Kasten, LLC
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             A Utah Limited Liability Company                            4/1/2021 | 10:17 AM MDT


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                                           EXHIBIT A TO LEASE ADMINISTRATION AGREEMENT

             Compensation of Administrator:

             For its services and efforts under this Agreement, Administrator shall be compensated as follows:


              a.     CAMS shall be compensated a fee equal to 2.00% of gross rents deducted proportionately from each
             owner’s rent disbursement.

              b.      Crisis/Default Rate. In the event the Tenant falls into default or rent is interrupted for any cause requiring
             action by the Lease Administrator the fee shall increase to 3.75% of scheduled Rents. CAMS must notify the
             owner prior to instigating this rate.

               c.      Sale or Leasing Commissions. In the event the Property is sold or it becomes necessary to obtain a new
             tenant or tenants, Owner agrees to pay Administrator or a third-party brokerage, a commission from the proceeds of
             a sale or for executed leases, based on normal and customary rates in the geographic area where the Property is
             located. All sales commissions shall be paid from closing, and in the case of leasing, from the Operating Account,
             within thirty (30) days after the date a lease is executed, renewed or extended (no compensation will be paid
             to Administrator or third-party brokers on lease renewals in force at the time Administrator was engaged as the
             Administrator) .

              d.      Construction. Administrator shall be paid $50 anhour:

                     (1) To retain a general contractor and monitor the general contractor’s performance under a signed Agreement
                     related to any reconstruction resulting from a casualty for which the landlord is either responsible or required to
                     provide reconstructionundertheapplicableleaseagreementwiththethen currenttenant ofthe Property;

                     (2) To hire and monitor a contractor under a written contract for all other Improvements, maintenance,
                     refurbishing or repair which is the responsibility of the landlord under the applicable lease agreement with
                     the then current tenant of the Property;and

                     (3) To approve plans and specifications for tenant improvements proposed by the then current tenant ofthe
                     Property, as allowed under the applicablelease.

              e.      Cost Reimbursement. Administrator shall be reimbursed out of the Operating Account for Administrator's
             direct costs associated with the management, operation, maintenance and repair of theProperty.

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Purpose of Form                                                                                                                                                                                   e Form 1099-K (merchant card and third party network transactions)
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